UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 GARFIELD ANTHONY WILLIAMS,

                              Plaintiff,
                                                                20-CV-5995
                      vs.

 CITY OF NEW YORK, et al.

                              Defendants.



                              NOTICE OF PLAINTIFF’S
                   MOTION FOR RECONSIDERATION OR REARGUMENT

PLEASE TAKE NOTICE that, pursuant to Local Rule 6.3 and Fed. R. Civ. P. 59(e), upon the,

accompanying Memorandum of Law, and all prior papers and proceedings had herein,

Plaintiff Garfield Williams will move this Court before the Honorable Lorna G. Schofield, on

a date to be determined by the Court, to reconsider the granting of summary judgment for

defendants, reconsider the denial of sanctions, reconsider denial of granting an adverse

inference; and for an order vacating the judgment terminating the proceedings, and for any

other relief this court deems just and proper.

PLEASE TAKE FURTHER NOTICE, Plaintiff respectfully requests the opportunity to reply to

Defendant’s response, if a response is ordered by this Court.




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Dated:        March 14, 2023
              New York, NY
                                             By:/s/ Masai I. Lord
                                             Masai I. Lord
                                             14 Wall St, Ste 1603
                                              New York, New York 10005
                                             Phone: 718-701-1002
                                             Attorney for Plaintiff


         Cc: Assistant Corporation Counsel
              Via ECF




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